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                                       IN THE UNITED STATE~i>~~'hf~T              hblliG
                                           FOR THE DISTRICT OFlM)\RYL"AND::
                                                                ,. Cl\~ _ .. ~~LT

      UNITED STATES OF AMERICA                                  : Gi_C~NAL;N6:             ~-17-472
               v.                                               *
                                                                *       (Conspiracy to Commit Securities
      DAWN J. BENNETT and                                       *       Fraud, 18 U.S.C. ~ 371; Securities
      BRADLEY C. MASCHO,                                        *       Fraud, IS U.S.c. ~~ 78j(b) & 78ff;
                                                                *       Wire Fraud Conspiracy, 18 U.S.c.
                           Defendants                           *       ~ 1349; Wire Fraud, 18 U.S.c. ~ 1343;
                                                                *       Bank Fraud, 18 U.S.C. ~ 1344; False
                                                                *       Statements on Loan Application,
                                                                *       18 U.S.c. ~ 1014; Aiding and Abetting,
                                                                *       18 U.S.c. ~ 2; Forfeiture, 18 U.S.c.
                                                                *       ~~ 981(a)(I)(C) and 982(a)(2)(A),
                                                                *       21 U.S.c. ~ 853, and 28 U.S.c. ~ 2461»
                                                                *
                                                            *******
                                              SUPERSEDING           INDICTMENT

                                                         COUNT ONE
                                          (Conspiracy   to Commit Securities Fraud)

             The Grand Jury for the District of Maryland charges that:

             At all times relevant to this Superseding Indictment:

                                                         Introduction

              I.         Defendant DAWN J. BENNETT ("BENNETT")                   was a resident of Maryland.

             2.          Defendant BRADLEY C. MASCHO ("MASCHO")                       was a resident of Maryland

    and BENNETT's              associate.

             3.          DJB Holdings, LLC was a holding company solely owned and controlled by

    BENNETT.
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           4.       DJB Holdings, LLC, and Province of the Dragon, LLC, doing business as

DJBennett.com (hereinafter "DJB Holdings"), was an internet retail business that sold sports

apparel.

           5.       BENNETT was the Chief Executive Officer of DJB Holdings.

           6.       MASCHO acted as the Chief Financial Officer ofDJB Holdings.

           7.       BENNETT had sole signatory authority for at least the following bank accounts:

                    a.     United Bank account ending in 2054 in BENNETT's name ("United 2054

Account");

                    b.     Revere Bank (formerly Monument Bank) account ending in 2660 in the

BENNETT's name ("Revere 2660 Account");

                    c.     EagleBank account ending in 2656 in the name of DJB Holdings, LLC

("Eagle Bank 2656 Account");

                    d.     First Republic Bank account ending in 286 I in the name of DJB Holdings,

LLC ("FRB 2861 Account"); and

                    e.     Revere Bank (formerly Monument Bank) account ending in 2678 in the

name of DJB Holdings LLC ("Revere 2678 Account").

           8.       The Financial Industry Regulatory Authority ("FINRA") was a non-governmental

organization that regulated the broker-dealer industry in order to protect investors and market

integrity.

                                              Background

           9.       Between at least in or about 2009 and in or about November 2015, BENNETT

was a registered representative and investment advisor affiliated with various brokerage firms.

BENNETT provided investment advice and financial services to clients in Maryland and


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elsewhere through her firn1, Bennett Group Financial Services, LLC ("BGFS"). BGFS had office

locations in Washington, D.C.

        10.    Beginning at least in on or about 2009, MASCHO worked with BENNETT at

BGFS.

        II.    On or about March 19, 2013, BENNETT formed DJB Holdings, LLC, d/b/a

DJBennetLcom, in the State of Delaware.

        12.    Beginning at least in or about November 2014, BENNETT and MASCHO

attempted to obtain and did obtain loans from financial institutions and commercial lenders

("Lenders") on behalf of DJB Holdings.

        13.    Beginning at least in or about December 2014, BENNETT and MASCHO sold

Convertible Promissory Notes and various iterations thereof ("Convertible Notes") to multiple

individuals, including current and former BGFS clients ("DJ Bennett Investors"). The

Convertible Notes were securities.

        14.    On or about November 6,2015, BGFS was subject to a FINRA on-site

examination.

        IS.    On or about November 24, 2015, BENNETT resigned from Western

International Securities and began working full-time for DlB Holdings in office space co-located

with BGFS in Washington, D.C.

                                The Conspiracv       and its Objects

        16.    Between at least in or about November 2014 and in or about August 2017, in the

District of Maryland and elsewhere, the defendants,

                                     DAWN J. BENNETT and
                                     BRADLEY C. MASH CO,



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did knowingly conspire, confederate, and agree with each other and other persons, known and

unknown to the Grand Jury, to commit an offense against the United States, to wit, to knowingly

and intentionally, by the use of means and instrumentalities of interstate commerce, the mails,

and the facilities of national securities exchanges, directly and indirectly, in connection with the

purchase and sale of securities, use and employ manipulative and deceptive devices and

contrivances, in violation of Title 15, United States Code, Sections 78j(b) and 78ff(a), and Title

17, Code of Federal Regulations, Section 240.1 Ob-5, by (I) employing a device, scheme, and

artifice to defraud; (2) making untrue statements of material fact and omitting to state material

facts necessary in order to make the statements made, in light of the circumstances under which

they were made, not misleading; and (3) engaging in acts, practices, and courses of business

which operated and would operate as a fraud and deceit upon purchasers of the OJB Holdings

Convertible Notes.

                                 The Purpose of the Conspiracv

        17.    It was a purpose of the conspiracy for BENNETT and MASCHO to solicit and

obtain millions of dollars from OJ Bennett Investors through false and misleading pretenses,

representations, and promises.

        18.    It was a further purpose of the conspiracy for BENNETT and MASHCO to

conceal 018 Holdings' true financial condition from OJ Bennett Investors and Lenders.

        19.    It was a further purpose of the conspiracy for BENNETT and MASHCO to

conceal the manner in which BENNETT and MASCHO were spending 018 Holdings' money

from OJ Bennett Investors and Lenders.

       20.     It was a further purpose of the conspiracy to enrich BENNETT and MASCHO at

the expense of OJ Bennett Investors and Lenders.


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                                       Manners and Means

          21.   The conspiracy was carried out through the following manner and means, among

others:

                a.      BENNETT recruited OJ Bennett Investors, some of whom were BGFS

clients, to invest in and loan money t~ 018 Holdings.

                b.      BENNETT and MASCHO made misrepresentations to OJ Bennett

Investors in order to entice them to invest in and loan money to 018 Holdings.

                c.      BENNETT and MASCHO intentionally overstated OJB Holdings' sales

to OJ Bennett Investors.

                d.      BENNETT and MASCHO intentionally understated 018 Holdings'

liabilities to OJ Bennett Investors.

                e.      BENNETT and MASCHO made false and misleading statements about

the manner in which and purpose for which the OJ Bennett Investors' funds would be used.

                f.      BENNETT convinced several OJ Bennett Investors to withdraw a

significant portion of their retirement accounts to invest in and loan money to OJB Holdings.

                g.      MASCHO assisted BGFS clients in withdrawing their retirement funds

("the retirement funds") to invest in and loan money to OJB Holdings.

                h.      In order to avoid detection by regulators, BENNETT and MASCHO

caused the retirement funds to be sent first to bank accounts held by OJ Bennett Investors before

being transferred to a OJB Holdings account, instead of sending the funds directly to a DJB

Holdings account.




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                I.     After the DJ Bennett Investors invested in and loaned money to DJB

Holdings, BENNETT and MASCHO deceived and defrauded DJ Bennett Investors by making

false and misleading statements about D18 Holdings' ongoing financial condition.

                J.     Between approximately December 2014 and November 2015, BENNETT

and MASCHO solicited investments using Convertible Notes.

                k.     In the Convertible Notes, BENNETT promised high rates of return,

typically around 15% per annum.

                I.     Following the November 6, 2015 FINRA on-site examination, BENNETT

and MASCI-IO induced DJ Bennett Investors to replace the Convertible Notes with Promissory

Notes in an effort to conceal the fact that BENNETT and MASCI-IO had unlawfully issued the

Convertible Notes to DJ Bennett Investors.

                m.     BENNETT and MASCI-IO drafted and caused to be drafted DJ Bennett

Investor affidavits that misrepresented that BENNETT had explained the risks of investing in

D18 Holdings.

                n.     BENNETT and MASCI-IO caused certain DJ Bennett Investors to sign

the affidavits that misrepresented that BENNETT had explained the risks of investing in D18

Holdings.

                o.     Between approximately November 2015 and July 2017, BENNETT

solicited additional investments and loans from DJ Bennett Investors. In exchange for these

investments and loans, BENNETT and MASCI-IO created and caused to be created, and

executed and caused to be executed nine-month and shorter-term Promissory Notes. In these

Promissory Notes, BENNETT promised DJ Bennett Investors high rates of return with little to

no risk, typically 15% interest after nine months, knowing that such returns were not realistic.


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               p.       BENNETT misrepresented to OJ Bennett Investors that their investments

and loans were highly liquid and were guaranteed by DJB Holdings' inventory, DJB Holdings'

assets, and by BENNETT herself.

               q.       BENNETT told certain OJ Bennett Investors that there was a minimum

investment for DJB Holdings. In order to obtain additional funds, after these OJ Bennett

Investors met the purported minimum investment threshold, BENNETT told these OJ Bennett

Investors that the minimum increased.

               r.       Rather than repaying certain OJ Bennett Investors when the Promissory

Notes matured, BENNETT and MASCHO caused certain OJ Bennett Investors to "roll over"

their financial commitments to DJBennett.com, that is, to defer repayment for an additional

period of time during which interest purportedly would accrue.

               s.       In or about April 2017, BENNETT changed the name ofDJB Holdings,

LLC, to Province of the Dragon, LLC.

               t.       Between in or about December 2014 and in or about July 2017,

BENNETT and MASCHO solicited and received over $20 million from more than 40 different

OJ Bennett Investors.

                                           Overt Acts

       22.     In furtherance of the conspiracy and to achieve its purposes, BENNETT,

MASCHO, and their co-conspirators committed the following overt acts, among others, in the

District of Maryland and elsewhere:

               a.       On or about January 26, 2015, MASCHO sent an email to BENNETT

containing a DJBennett.com Business Plan with false and misleading statements about




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OJ Bennett.com 's financial condition, including a profit and loss statement that overstated

OJ Bennett.com 's sales.

        Victim A

               b.        On or about March 17,2015, BENNETT sent an email to Victim A that

included a DJBennett.com Business Plan that contained false and misleading statements about

DJBennett.com's     financial condition, including a profit and loss statement that overstated

DJBennett.com's     sales.

               c.        On or about March 19,2015, MASCHO sent an email to Victim A with a

Letter of Authorization to assist Victim A in withdrawing funds from Victim A's retirement

account to invest in and loan money to DJB Holdings.

               d.        On or about March 19,2015, BENNETT caused Victim A to send by

wire $25,000 to the FRB 2861 Account.

               e.        On or about June 3, 2015, BENNETT sent Victim A an email that

contained false and misleading statements regarding DJBennett.com's        revenue.

               f.        On or about July 14,2015, BENNETT caused Victim A to send by wire

$52,000 to the FRS 2861 Account.

               g.        On or about July 14,2015, BENNETT caused Victim A to send by wire

$120,000 to the FRB 2861 Account.

               h.        On or about July 23,2015, MASCHO sent Victim A an email that

contained Convertible Notes reflecting Victim A's previous investments.

               \.        On or about November 16,2015, BENNETT sent MASCHO an email

that contained a link to an internet post titled "Is Our Promissory Note a Security?"




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              J.      On or about November 16, 2015, MASCHO sent BENNETT an email

that contained two Promissory Notes for Victim A reflecting Victim A's previous investments.

               k.     On or about November 16,2015, BENNETT sent Victim A an email that

contained the Promissory Notes in order to obtain Victim A's signature.

               1.     On or about November 26,2015, MASCHO sent BENNETT an email

that contained an unsigned affidavit for Victim A that misrepresented that Victim A signed a

short-term promissory note on March 19, 2015, the day Victim A invested in the Convertible

Note.

               m.     On or about November 27,2015, BENNETT emailed Victim A the

affidavit received trom MASCHO the day before, in order to obtain Victim A's signature.

        Victim B

               n.     On or about April 28, 2015, BENNETT sent an email to Victim B that

contained various offering documents, including a DJBennett.com Business Plan that contained

false and misleading statements about DJBennett.com's     financial condition, including a profit

and loss statement that overstated DJBennett.com's   sales.

               o.     On or about May 7, 2015, BENNETT caused Victim B to send by wire

$70,000 to the FRB 2861 Account.

               p.      On or about May 15,2015, BENNETT caused Victim B to send by wire

$30,000 to the FRB 2861 Account.

               q.     On or about August 25, 20 IS, BENNETT caused Victim B to send by

wire $253,000 to the FRB 2861 Account.

               r.     On or about August 28, 2015, MASCHO sent to Victim B an email that

contained an executed signature page from a DJ Bennett Holdings LLC Convertible Note.


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        Victim C

                s.     On or about October 23,2015, BENNETT sent an email to MASCHO

and Victim C that contained DJ Bennett offering documents and that promised the investment

was fully liquid.

                t.     On or about October 26,2015, BENNETT and MASCHO caused Victim

C to submit a retirement distribution account form in order to withdraw money from Victim C's

retirement account to invest in and loan money to OJB Holdings.

                u.     On or about October 29,2015, BENNETT and MASCHO caused Victim

C to send by wire $100,000 to the FRB 2861 Account.

                v.     On or about October 29,2015, after receiving $100,000 from Victim C,

BENNETT paid $50,000 to a law firm for a purpose unrelated to D18 Holdings and which was

not for the benefit of OJ Bennett Investors.

                w.     On or about October 29,2015, after receiving $100,000 from Victim C,

BENNETT caused to be sent by wire $15,000 to BENNETT's United Bank 2054 Account.

                x.     In or about May 2017, BENNETT returned Victim C's D18 Holdings

investment, with interest, in part using funds from other investors.

                Victim D

                y.     On or about June 2, 20 is, BENNETT and MASCHO caused Victim D to

send by wire $225,000 to the FRB 2861 Account.

                Victim E

                z.     On or about June 3, 2015, BENNETT sent Victim E an email that

contained a OJBennett.com Business Plan that contained false and misleading statements about




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DJBennett.com's     financial condition, including a profit and loss statement that overstated

DJBennett.com's     sales.

              aa.        On or about June 15,2015, BENNETT sent Victim E an email that

contained false and misleading statements concerning DJBennett.com's        2015 revenue.

              bb.        On or about July 28, 2015, BENNETT caused Victim E to send by wire

$100,000 to the FRB 2861 Account.

              cc.        On or about September 18, 20 IS, MASCHO sent Victim E an email

containing an executed Convertible Note dated July 28, 2015, for Victim E's $100,000 financial

commitment.

               Victim F

              dd.        On or about June 16,2015, BENNETT sent Victim F an email that

contained false and misleading statements on which BENNETT and MASCHO intentionally

overstated DJBennett.com's     2015 revenue and understated DJBennett.com's      2015 liabilities.

              ee.        On or about June 24, 2015, BENNETT caused Victim F to send by wire

$500,000 to the FRB 2861 Account.

              ff.        On or about July 7, 2015, MASCHO sent Victim F an email that

contained an executed Convertible Note dated June 24, 2015 for Victim F's $500,000 financial

commitment.

               Victim G

              gg.        On or about August 17,2015, BENNETT caused Victim G to send by

wire $150,000 to the FRB 2861 Account.




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                 hh.   On or about August 21, 2015, BENNETT and MASCHO caused Victim

G to send an email to MASCHO containing a signature page relating to Victim G's S150,000

investment.




18 V.S.c.    S 371




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                               COUNTS TWO THROUGH FIVE
                                     (Securities Fraud)

       The Grand Jury for the District of Maryland further charges that:

        1.     Paragraphs I through IS, 17 through 20, and Subparagraphs (a) through (t) of

Paragraph 21 of Count One of this Superseding Indictment are incorporated here.

       2.      On or about the dates listed below, in the District of Maryland and elsewhere, the

defendants,

                                   DAWN J. BENNETT and
                                   BRADLEY C. MASCHO,

unlawfully, willfully, and knowingly, by the use of means and instrumentalities of interstate

commerce and the mail, directly and indirectly, used and employed, in connection with the

purchase and sale of securities listed below, manipulative and deceptive devices and

contrivances in contravention of Title 17, Code of Federal Regulations, Section 240. I Ob-S, by:

(a) employing a device, scheme, and artifice to defraud; (b) making untrue statements of material

facts and omit to state material facts necessary in order to make the statements made, in light of

the circumstances under which they were made, not misleading; and (c) engaging in acts,

practices, and courses of business which operated and would operate as a fraud and deceit upon

other persons, in connection with the purchase and sale of the securities listed below:



   COUNT        APPROXIMATE               INVESTOR               SECURITY           PURCHASE
                    DATE                                                              PRICE


                                                                 OJ Bennett
       2           June 24, 20lS            Victim F            Holdings, LLC          $SOO,OOO
                                                               Convertible Note




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   COUNT         APPROXIMATE          INVESTOR       SECURITY         PURCHASE
                     DATE                                               PRICE

                                                     OJ Bennett
      3             July 28,2015       Victim E     Holdings, LLC      $100,000
                                                   Convertible Note


                                                     OJ Bennett
      4           August 17,2015       Victim G     Holdings LLC       $150,000
                                                   Convertible Note


                                                     OJ Bennett
      5           August 25, 2015      Victim B     Holdings LLC       $253,000
                                                   Convertible Note




15 U.S.c.   SS 78j(b) and   78ff(a)
17 C.F.R.   S 240.1 Ob-5
18 U.S.C.   S2




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                                          COUNT SIX
                                    (Wire Fraud Conspiracy)

       The Grand Jury for the District of Maryland further charges that:

        I.     Paragraphs I through 15 of Count One of this Superseding Indictment are

incorporated here.

                            The Conspiracv     and Scheme to Defraud

       2.      Between at least in or about December 2014 and in or about July 2017, in the

District of Maryland and elsewhere, the defendants,

                                    DAWN J. BENNETT and
                                    BRADLEY C. MASCHO,

did knowingly and intentionally conspire, with each other and with others known and unknown

to the Grand Jury, to commit wire fraud, that is, having devised and intending to devise a scheme

and artifice to defraud OJ Bennett Investors and Lenders, and to obtain money and property from

DJ Bennett Investors and Lenders, by means of materially false and fraudulent pretenses,

representations, promises, and omissions ("the scheme to defraud"), and for the purpose of

executing and attempting to execute the scheme to defraud, transmitted and caused to be

transmitted by means of wire communications, in interstate and foreign commerce, writings,

signs, signals, pictures, and sounds, in violation of 18 U.S.C.   S   1343.

                                 The Purpose of the Conspiracv

       3.      It was a purpose of the conspiracy for BENNETT and MASCHO to solicit and

obtain millions of dollars from OJ Bennett Investors and Lenders through false and misleading

pretenses, representations, and promises.




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                  Manner and Means of the Conspiracy       and Scheme to Defraud

       4.      Subparagraphs (a) through (t) of Paragraph 21 of Count One of this Superseding

Indictment are incorporated here.

                                             Overt Acts

       5.      In furtherance of the conspiracy, and to effect the objects thereof, the defendants,

BENNETT and MASCHO, and others known and unknown to the Grand Jury, committed and

caused to be committed the following acts, among others, in the District of Maryland and

elsewhere:

              a.        On or about January 26,2015, MASCHO sent an email to BENNETT

containing a DJBennett.com Business Plan with false and misleading statements about

DJBennett.com's    financial condition, including a profit and loss statement that overstated

DJBennett.com's    sales.

              b.        On or about March 17,2015, BENNETT sent an email to Victim A that

included a DJBennett.com Business Plan that contained false and misleading statements about

DJBennett.com's    financial condition, including a profit and loss statement that overstated

DJBennett.com's    sales.

              c.        On or about March 18,2015, BENNETT sent Victim F an email that

contained offering documents, including a DJBerlllelt.com Business Plan containing false and

misleading statements about DJBennett.com's      financial condition, including a profit and loss

statement that overstated DJBennett.com's    sales.

              d.        On or about March 19,2015, BENNETT caused Victim A to send by

wire $25,000 to the FRB 2861 Account.




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               e.       On or about April 8,2015, BENNETT caused Victim F to send by wire

$250,000 to the FRB 2861 Account.

               f.       On or about April 28, 2015, BENNETT sent an email to Victim B that

contained various offering documents, including a DJBennett.com Business Plan that contained

false and misleading statements about DJBennett.com's        financial condition, including a profit

and loss statement that overstated DJBennett.com's      sales.

               g.       On or about May 7,2015, BENNETT caused Victim B to send by wire

$70,000 to the FRB 286 I Account.

               h.        On or about May 15,2015, BENNETT caused Victim B to send by wire

$30,000 to the FRB 2861 Account.

               1.       On or about June 2, 2015, BENNETT and MASCHO caused Victim D to

send by wire $225,000 to the FRB 2861 Account.

              J.        On or about June 3, 2015, BENNETT sent Victim E an email that

contained a DJBennett.com Business Plan that contained false and misleading statements about

DJBennett.com's     financial condition, including a profit and loss statement that overstated

DJBennett.com's     sales and a balance sheet that understated DJBennett.com's     total liabilities.

               k.       On or about June 3, 2015, BENNETT sent Victim A an email that

contained false and misleading statements regarding DJBennett.com's         revenue.

               I.       On or about June 15,2015, BENNETT sent Victim E an email that

contained false and misleading statements concerning DJBennetl.com's         2015 revenue.

               m.       On or about June 16, 2015, BENNETT sent Victim F an email that
                                                                                               •
contained false and misleading statements on which BENNETT and MASCHO intentionally

overstated DJBennett.com's     2015 sales.


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              n.      On or about June 24, 2015, BENNETT caused Victim F to send by wire

$500,000 to the FRB 2861 Account.

              o.      On or about July 7, 2015, MASCHO sent Victim F an email containing an

executed Convertible Note dated June 24, 2015 relating to Victim F's $500,000 financial

commitment.

              p.      On or about July 14,2015, BENNETT caused Victim A to send by wire

$52,000 to the FRB 2861 Account.

              q.      On or about July 14, 2015, BENNETT caused Victim A to send by wire

$120,000 to the FRB 2861 Account.

              r.      On or about July 23,2015, MASCHO sent Victim A an email that

contained Convertible Notes reflecting Victim A's previous investments.

              s.      On or about July 28,2015, BENNETT caused Victim E to send by wire

$100,000 to the FRB 2861 Account.

              t.      On or about August 17,20 IS, BENNETT caused Victim G to send by

wire $150,000 to the FRB 2861 Account.

              u.      On or about August 21,20 IS, BENNETT and MASCHO caused Victim

G to send an email to MASCHO containing a signature page relating to Victim G's $150,000

investment.

              v.      On. or about August 25, 2015, BENNETT caused Victim B to send by

wire $253,000 to the FRB 2861 Account.

              w.      On or about August 28, 2015, MASCHO sent Victim B an email that

contained an executed signature page from a OJ Bennett Holdings LLC Convertible Note.




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                x.     On or about September 18,2015, MASCHO sent Victim E an email

containing an executed Convertible Note dated July 28, 2015, for Victim"E's $100,000 financial

commitment.

                y.     On or about October 23,2015, BENNETT sent an email to MASCHO

and Victim C that contained OJ Bennett offering documents and that promised thc investment

was fully liquid.

                z.     On or about October 26, 2015, BENNETT and MASCHO caused Victim

C to submit a retirement distribution account form in order to withdraw money from Victim C's

retirement account to invest in and loan money to DJB Holdings.

                aa.    On or about October 29,2015, BENNETT and MASCHO caused Victim

C to send by wire $100,000 to the FRB 2861 Account.

                bb.    On or about October 29,2015, after having received the $100,000 wire

from Victim C, BENNETT paid $50,000 to a law firm for a purpose unrelated to DJB Holdings

and which was not for the benefit of OJ Bennett Investors.

                cc.    On or about October 29,2015, BENNETT caused to be sent by wire

$15,000 to BENNETT's United Bank 2054 Account.

                dd.    On or about November 16,2015, BENNETT sent MASCHO an email

that contained a link to an internet post titled "Is Our Promissory Note a Security?"

                ee.    On or about November 16, 2015, MASCHO sent BENNETT an email

that contained two Promissory Notes for Victim A reflecting Victim A's previous investments.

                ff.    On or about November 16, 2015, BENNETT sent an email to Victim A

that contained the Promissory Notes in order to obtain Victim A's signature.




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               gg.     On or about November 25, 2015, MASCHO sent BENNETT an email

that contained an unsigned affidavit for Victim A that misrepresented that Victim A signed a

short-term promissory note on March 19,2015, the day Victim A invested in the Convertible

Note.

               hh.     On or about November 27, 2015, BENNETT emailed Victim A the

affidavit received from MASCHO the day before, in order to obtain Victim A's signature.

               lI.     On or about March 7, 2016, BENNETT sent to Victim H an email that

contained a balance sheet and profit and loss statement for DJB Holdings LLC, which balance

sheet omitted from the liabilities section the Convertible Notes and the Promissory Notes, and

which profit and loss statement falsely reported sales of over $4.7 million.

               JJ.     On or about March 9,2016, BENNETT caused Victim H to write a

$55,000 check that was deposited into the Revere 2678 Account.

               kk.     On or about April I, 2016, BENNETT caused Victim 1to send by wire

$100,000 to the Revere 2678 Account.

               II.     On or about April 4, 2016, BENNETT caused Victim 1to send by wire

$100,000 to the Revere 2678 Account.

               mm.     On or about April 4, 2016, after having received $200,000 from Victim 1

in the previous three days, BENNETT caused to be sent by wire $11,250 to partially repay

another investor, Victim J.

               nn.     On or about May 17,2016, BENNETT caused Victim L to send by wire

$200,000 to the Revere 2678 Account.




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                00.    On or about May 17, 2016, in exchange for $200,000, BENNETT sent

Victim L an email that contained an executed Promissory Note stating: "this is a personal note

guaranteed by DJBennett.com and company's assets and account receivables."

                pp.    On or about August 8, 2016, BENNETT caused Victim N to send by wire

$150,000 to the Revere 2678 Account.

                qq.    On or about September 22,2016, BENNETT caused Victim E to send by

wire $1,000,000 to the Revere 2678 Account.

                IT.    On or about November 10, 2016, BENNETT caused Victim A to send by

wire $67,538 to the Revere 2678 Account.

                ss.    On or about December 22, 2016, BENNETT caused Victim E to send by

wire $1,000,000 to the FRB 2861 Account.

                tt.    On or about December 23, 2016, BENNETT caused to be sent by wire

$363,000 to Victim K, as a partial repayment of Victim K's notes paid for in part with funds

received the day prior from Victim E.

                uu.    On or about February 16, 2017, in response to an email inquiry from

Victim L regarding the status of money due to Victim L, BENNETT replied: "we are doing

extremely well so the equity step up attached to your note has turned out to be quite beneficial

for you."

                vv.    On or about June 21,2017, BENNETT, while physically present with

Victim M at a financial institution in Maryland, caused Victim M to send by wire $58,500 to the

EagleBank 2656 Account.




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                  ww.   On or about June 21, 2017, BENNETT and Victim M called Fidelity to

obtain approval for the wire transfer to the EagleBank 2656 Account, during which call,

BENNETT told Fidelity that the money was for "building out bricks and mortar."

                  xx.   On or about June 21,2017, after having received $58,500 from Victim M,

BENNETT caused to be sent by wire $35,000 to BENNETT's United 2054 Account.

                 yy.    On or about June 21, 2017, after having transferred $35,000 of Victim M's

funds to the United 2054 Account, BENNETT paid $15,500 of BENNETT's            personal

mortgage.

                 ZZ.    On or about June 28, 2017, BENNETT caused Victim M to send by wire

$395,476 to the EagleBank 2656 Account.

                 aaa.   On or about June 28, 2017, after having received $395,476 from Victim

M, BENNETT caused to be sent by wire $115,000 to a law firm for a purpose unrelated to OJB

Holdings and which was not for the benefit of OJ Bennett Investors.

                 bbb.   On or about July 3,2017, BENNETT caused Victim M to send by wire

$101,575 to the EagleBank 2656 Account.

                 ccc.   On or about July 6,2017, BENNETT caused Victim M to send by wire

$136,254 to the EagleBank 2656 Account.




18 U.S.C.   S   1349




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                            COUNTS SEVEN THROUGH               FIFTEEN
                                      (Wire Fraud)

        The Grand Jury for the District of Maryland further charges that:

        I.       Paragraphs I through 15 of Count One and Paragraphs 3 and 4 of Count Six of

this Superseding Indictment are incorporated here.

                                       The Scheme to Defraud

        2.       Between at least in or about November 2014 and in or about August 2017, in the

District of Maryland and elsewhere, BENNETT devised and intended to devise a scheme and

artifice to defraud OJ Bennett Investors and Lenders, and to obtain money and property from OJ

Bennett Investors and Lenders, by means of materially false and fraudulent pretenses,

representations, promises, and omissions ("the scheme to defraud").

                                            The Charges

        3.       On or about the dates set forth below, in the District of Maryland and elsewhere,

the defendant,

                                       DA WN J. BENNETT,

for the purpose of executing and attempting to execute the scheme to defraud, did knowingly and

intentionally transmit and cause to be transmitted by means of wire communication, in interstate

and foreign commerce, writings, signs, signals, pictures, and sounds, to wit, BENNETT

transmitted and caused to be transmitted the following:


                    APPROXIMATE
   COUNT                                          WIRE TRANSMISSION          AND AMOUNT
                        DATE

                                              Wire communication between a location in
                                              Maryland and a location outside of Maryland
       7               March 9, 2016          caused by deposit of a $55,000 check drawn on
                                              Victim H's bank account into the Revere 2678
                                              Account in Maryland

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                       APPROXIMATE
  COUNT                                        WIRE TRANSMISSION AND AMOUNT
                           DATE

                                            Interstate wire communication caused by wire
      8                   April 1,2016      transfer of$ I00,000 from Victim I's bank account
                                            to the Revere 2678 Account in Maryland

                                            Interstate wire communication caused by wire
      9                  April 4, 20 I6     transfer of $ I00,000 from an account held by
                                            Victim I to the Revere 2678 Account in Maryland

                                            Interstate wire communication caused by wire
      10                 May 17,2016        transfer of $200,000 from an account held by
                                            Victim L to the Revere 2678 Account in Maryland

                                            Interstate wire communication caused by wire
      11                 August 8, 2016     transfer of $150,000 from an account held by
                                            Victim N to the Revere 2678 Account in Maryland

                                            Interstate wire communication caused by wire
      12               September 22, 2016   transfer of Sl ,000,000 from an account held by
                                            Victim E to the Revere 2678 Account in Maryland

                                            Interstate wire communication caused by wire
      13               November 10,2016     transfer of $67,538 from an account held by Victim
                                            A to the Revere 2660 Account in Maryland

                                            Interstate wire communication caused by wire
      14                 July 21,2017       transfer of $58,500 from an account held by Victim
                                            M to the EagleBank 2656 Account in Maryland

                                            Interstate wire communication caused by wire
                                            transfer of S395,4 76 from an account held by
      15                 June 28, 2017
                                            Victim M to the EagleBank 2656 Account in
                                            Maryland




18 U.S.C.   S   1343




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                                        COUNT SIXTEEN
                                           (Bank Fraud)

        The Grand Jury for the District of Maryland further charges that:

        I.      Paragraphs I through 8 of Count One of the Superseding Indictment are reallaged

and incorporated here.

        2.      Eagle Bancorp, Inc. ("Eagle Bank") was a financial institution within the meaning

of Title 18, United States Code, Section 20, and had its deposits insured by the Federal Deposit

Insurance Corporation ("FDIC").     EagleBank had locations in Maryland, Virginia, and

Washington, D.C., including a location in Bethesda, Maryland.

        3.      In or about May 2015, Lender EagleBank extended a $750,000 line of credit to

borrower DJB Holdings, LLC, with BENNETT as guarantor, with a loan date of May 19,2015,

and a maturity date of May 19,2016.     According to the Business Loan Agreement, dated May

19,2015, and signed by BENNETT, DJB Holdings agreed to "[u]se all Loan proceeds solely for

Borrower's business operations, unless specifically consented to the contrary by Lender in

writing." According to a Disbursement Request and Authorization, also dated May 19,2015,

and also sif,,'nedby BENNETT, the primary purpose of the loan was "business (including real

estate investment)."   The specific purpose of the loan was "short term working capital."

                                      The Scheme to Defraud

        3.      Between at least in or about November 2014 and in or about July 2017, in the

District of Maryland and elsewhere, the defendant,

                                       DA WN J. BENNETT,

and others known and unknown to the Grand Jury, knowingly and intentionally executed, and

attempted to execute, a scheme and artifice to defraud EagleBank and to obtain money, funds,



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and credits under the custody and control of EagleBank by means of materially false and

fraudulent pretenses, representations, and promises ("the scheme to defraud").

                                        Manner and Means

        4.      It was part of the scheme to defraud that, through fraudulent means, BENNETT

obtained and attempted to obtain loans on behalf of DJB Holdings from financial institutions in

order to repay DJ Bennett Investors and Lenders.

        5.      It was further part of the scheme to defraud that BENNETT applied for and

obtained a $750,000 line of credit from EagleBank on behalf of DJB Holdings, LLC.

        6.      It was further part of the scheme to defraud that BENNETT made and caused to

be made materially false and fraudulent representations to EagleBank in support of this loan

application.   The materially false statements included, among other things, that BENNETT had a

brokerage account with a net portfolio value of over $4 million, when, in fact, BENNETT's

brokerage account had a net portfolio value of approximately $35.

        7.      It was further part of the scheme to defraud that BENNETT obtained money and

property that was under the custody and control of EagleBank, including $250,000 on or around

May 20, 2015, and $500,000 on or around May 27,2015.

        8.       It was further part of the scheme to defraud that, after the loan was approved,

BENNETT deposited or caused to be deposited the loan proceeds into the EagleBank 2656

Account, which was controlled by BENNETT.          BENNETT then transferred or caused to be

transferred significant portions of the loan proceeds into the FRB 2861 Account and the United

2054 Account.




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       9.      It was further part of the scheme to defraud that, after the loan proceeds were

transferred into the FRB 2861 Account and the United 2054 Account, BENNETT used the

money to repay DJ Bennett Investors and to pay BENNETT's personal expenses.

        10.    It was further part of the scheme to defraud that, after EagleBank declared the

loan in default, BENNETT made further false representations to EagleBank as to why the loan

had not been repaid, including that BENNETT had been overseas in China, when in fact she had

not been in China.

                                           The Charge

        II.    On or about May 19, 2015, in the District of Maryland and elsewhere, the

defendant,

                                     DAWN J. BENNETT,

did knowingly and intentionally execute and attempt to execute, and aid and abet the execution

of, the scheme to defraud EagleBank by using false documentation to obtain a loan for DJB

Holdings, LLC.




18 U.S.c. ~ 1344
18 U.S.c. ~ 2




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                                    COUNT SEVENTEEN
                           (False Statements on a Loan Application)

       The Grand Jury for the District of Maryland further charges that:

        1.     Paragraphs I through 8 of Count One and Paragraphs 2 through 10 of Count

Sixteen of the Superseding Indictment are incorporated here.

                                          The Charge

       2.      On or about April 27, 2015, in the District of Maryland and elsewhere, the

defendant,

                                     DAWN J. BENNETT,

knowingly made and caused to be made, and aided and abetted the making of, false statements

for the purpose of influencing in any way the actions of EagleBank, the deposits of which were

then insured by the Federal Deposit Insurance Corporation, that is, BENNETT made and caused

to be made, and aided and abetted the making of, materially false statements regarding her assets

in an email submitted to EagleBank for the purpose of securing a loan.




18 U.S.c. 11 1014
18 U.S.C. 11 2




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                                    FORFEITURE        ALLEGA nON

        The Grand Jury for the District of Maryland further finds that:

        I.         Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to the

defendants that the United States will seek forfeiture as part of any sentence in accordance with

18 U.S.C.    SS   981 and 982, and 28 U.S.C.   S 246I(c),   in the event of the defendants' convictions

on Counts One through Seventeen of this Superseding Indictment.

                                       Securities Fraud Forfeiture

        2.         As a result of the offense set forth in Counts One through Five, the defendants,

                                       DAWN J. BENNETT, and
                                       BRADLEY C. MASCHO,

shall forfeit to the United States, pursuant to 18 U.S.c.     S 98 I(a)(I)(C)   and 28 U.S.C.   S 246I(c),
any property, constituting or derived from, proceeds traceable to the violations.

        3.         The property to be forfeited includes, but is not limited to, at least $14,169,754 in

United States currency and all interest and proceeds traceable thereto, in that such sum, in

aggregate, constitutes proceeds obtained, directly or indirectly, as a result of such violation.

                                         Wire Fraud Forfeiture

        4.         As a result of the offenses set forth in Count Six, the defendants,

                                       DAWN J. BENNETT, and
                                       BRADLEY C. MASCI-IO,

shall forfeit to the United States, pursuant to 18 U.S.c.     SS   98I(a)(1 )(C) and 982(a)(2)(A), and

28 U.S.c.    S 246I(c),   any property, constituting or derived from, proceeds traceable to or

obtained, directly or indirectly, as the result of such violations.




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        5. As a result of the offenses set forth in Counts Seven through Fifteen, the defendant,

                                          DAWN J. BENNETT,

shall forfeit to the United States, pursuant to 18 U.S.C.    SS 98 I(a)(l)(C)    and 982(a)(2)(A), and

28 U.S.c.    S 2461 (c), any   property, constituting or derived from, proceeds traceable to or

obtained, directly or indirectly, as the result of such violations.

        6.       The property to be forfeited includes, but is not limited to, at least $14,169,754 in

United States currency and all interest and proceeds traceable thereto, in that such sum, in

aggregate, constitutes proceeds obtained, directly or indirectly, as a result of such violations.

                                          Bank Fraud Forfeiture

        6.       As a result of the offense set forth in Count Sixteen, the defendant,

                                          DA WN J. BENNETT,

shall forfeit to the United States, pursuant to 18 U.S.C.    SS 981 (a)(1 )(C)   and 982(a)(2)(A), any

property, constituting, or derived from, proceeds traceable to or obtained, directly or indirectly,

as the result of such violation.

        7.       The property to be forfeited includes, but is not limited to, at least $750,000 in

United States currency and all interest and proceeds traceable thereto, in that such sum, in

aggregate, constitutes proceeds obtained, directly or indirectly, as a result of such violation.

                           False Statements    on Loan Application    Forfeiture

        8.       As a result of the offense set forth in Count Seventeen, the defendant,

                                          DAWN J. BENNETT,

shall forfeit to the United States, pursuant to 18 U.S.c.    SS 98 I(a)(l)(C)    and 982(a)(2)(A) and

28 U.S.c.    S 2461(c),   any property, real or personal, which represents or is traceable to the gross

receipts obtained, directly or indirectly, from the offense.


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             9.        The property to be forfeited includes, but is not limited to, at least $750,000 in

      United States currency and all interest and proceeds traceable thereto, in that such sum, in

      aggregate, constitutes proceeds obtained, directly or indirectly, as a result of such violation.

                                                  Substitute     Assets

              10.      Ifany of the property described above as being subject to forfeiture, as a result of

      any act or omission of the defendants:

                       a.       cannot be located upon the exercise of due diligence;

                       b.       has been transferred or sold to, or deposited with, a third person;

                       c.       has been placed beyond the jurisdiction of the Court;

                       d.       has been substantially diminished in value; or,

                       e.       has been commingled with other property which cannot be subdivided

                                without difficulty;

      the United States shall be entitled to forfeiture of substitute property, pursuant to 21 U.S.c.

      S 853(P),   up to the value of the forfeitable property, that is, at least $14,169,754.




      18 U.S.c.    S 98 I(a)(l)(C)
      18 U.S.C.    S 982(a)(2)(A)
      21 U.S.C.    S 853
      28 U.S.c.    S 2461(c)

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                                                           Steph nM~hehning                "V
                                                                                                fEB-f'
                                                            Acting United States Attorney

      A TRUE BILL:

c::   SIGNATURE REDACTED
                                                               Date:      November 29, 2017




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